     Case 2:18-cr-00390-RFB-BNW Document 144 Filed 10/20/20 Page 1 of 5



 1   NICHOLAS A. TRUTANICH
     United States Attorney
 2   District of Nevada
     Nevada Bar Number 13644
 3   ALLISON REESE
     Assistant United States Attorney
 4   Nevada Bar Number 13977
     501 Las Vegas Boulevard South, Suite 1100
 5   Las Vegas, Nevada 89101
     (702) 388-6336
 6   Allison.Reese@usdoj.gov
     Attorneys for the United States
 7
                                  UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA

 9    UNITED STATES OF AMERICA,
                                                        Case No. 2:18-cr-00390-RFB-PAL
10                   Plaintiff,                          AMENDED
                                                        STIPULATION TO CONTINUE
11    vs.                                               PRETRIAL MOTION DEADLINES,
                                                        CALENDAR CALL AND TRIAL DATES
12    QUANG DUONG TAO,                                  (Sixth Request)

13                   Defendant.

14

15          IT IS HEREBY STIPULATED AND AGREED, by and between NICHOLAS

16   TRUTANICH, United States Attorney, and ALLISON REESE, Assistant United States

17   Attorney, counsel for the United States of America, and YI LIN ZHENG, ESQ. counsel for

18   QUANG DUONG TAO that the calendar call currently scheduled for August 4, 2020, at 1:30

19   p.m., and the trial currently scheduled for August 10, 2020, at 9:00 a.m., be vacated and

20   continued for at least 60 days to a date and time convenient to this Court.

21          This stipulation is entered into for the following reasons:

22          1.     Counsel for the defendant need additional time to conduct investigation in this

23   case in order to determine whether there are any pre-trial issues that must be litigated and whether

24   the case will ultimately go to trial or will be resolved through negotiations. Additional time is
     Case 2:18-cr-00390-RFB-BNW Document 144 Filed 10/20/20 Page 2 of 5



 1   also needed to finalize negotiations with the Government and then to discuss with defendants

 2   any modification in the offers that have been extended by the Government.

 3          2.      Defendant Quang Duong Tao is out of custody and do not object to the

 4   continuance.

 5          3.      The additional time requested herein is not sought for purposes of delay, but

 6   merely to allow counsel for defendant sufficient time within which to be able to effectively

 7   complete investigation of discovery materials provided and to discuss the case with defendant.

 8   Communication is not easy as defendant and his family reside out of state. Compounded by the

 9   fact that Defendant speaks Cantonese Chinese and Vietnamese as his primary languages. Thus,

10   meetings only happen when client and his family can travel to Las Vegas to meet with counsel.

11          4.      The additional time requested by this stipulation is excludable in computing the

12   time within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,

13   U.S.C. §3161(h)(7); and Title 18, U.S.C. §3161(h)(7)(A), when considering the factors under

14   Title 18, U.S.C. §3161(h)(7)(B), §3161(h)(7)(B(i) and §3161(h)(7)(B)(iv).

15          5.      This is the sixth request for a continuance filed herein.

16          DATED: July 29, 2020

17   NICHOLAS TRUTANICH                                         VEGAS GOLDEN LAW
     United States Attorney                                     Formerly Momot & Zheng
18
     By /s/ Allison Reese                                       By /s/ Yi Lin Zheng
19   ALLISON REESE                                              YI LIN ZHENG, ESQUIRE
     Assistant United States Attorney                           Counsel for Quang Duong Tao
20   Counsel for Plaintiff

21

22

23

24


                                                      2
     Case 2:18-cr-00390-RFB-BNW Document 144 Filed 10/20/20 Page 3 of 5



 1                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 2
      UNITED STATES OF AMERICA,
 3                                                        Case No. 2:18-CR-00390-RFB-PAL
                     Plaintiff,                            AMENDED
 4                                                        FINDINGS OF FACT, CONCLUSIONS
      vs.                                                 OF LAW, AND ORDER
 5
      QUANG DUONG TAO,
 6
                     Defendant.
 7

 8                                        FINDINGS OF FACT

 9           Based upon the pending Stipulation of counsel and good cause appearing, the Court finds

10   that:

11           1.     Counsel for the defendant needs additional time to conduct investigation in this

12   case in order to determine whether there are any pre-trial issues that must be litigated and whether

13   the case will ultimately go to trial or will be resolved through negotiations. Additional time is

14   also needed to finalize negotiations with the Government and then to discuss with defendant any

15   modification in the offers that have been extended by the Government.

16           2.     Defendant Quang Duong Tao is out of custody and do not object to the

17   continuance.

18           3.     The additional time requested herein is not sought for purposes of delay, but

19   merely to allow counsel for defendant sufficient time within which to be able to effectively

20   complete investigation of discovery materials provided and to discuss the case with defendant.

21   Communication is not easy as defendant and his family reside out of state. Compounded by the

22   fact that Defendant speaks Cantonese Chinese and Vietnamese as his primary languages. Thus,

23   meetings only happen when client and his family can travel to Las Vegas to meet with counsel.

24


                                                      3
     Case 2:18-cr-00390-RFB-BNW Document 144 Filed 10/20/20 Page 4 of 5



 1           4.     The additional time requested by this stipulation is excludable in computing the

 2   time within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,

 3   U.S.C. §3161(h)(7); and Title 18, U.S.C. §3161(h)(7)(A), when considering the factors under

 4   Title 18, U.S.C. §3161(h)(7)(B), §3161(h)(7)(B(i) and §3161(h)(7)(B)(iv).

 5           For all of the above-stated reasons, the ends of justice would best be served by a

 6   continuance.

 7                                     CONCLUSIONS OF LAW

 8           The ends of justice served by granting said continuance outweigh the best interest of the

 9   public and the defendant in a speedy trial, since the failure to grant said continuance would be

10   likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the

11   opportunity within which to be able to effectively and thoroughly prepare for trial, taking into

12   account the exercise of due diligence.

13           The continuance sought herein is excludable under the Speedy Trial Act, Title 18, U.S.C.

14   § 3161(h)(7); and Title 18, U.S.C. § 3161(h)(7)(A), when considering the factors under Title 18,

15   U.S.C. § 3161(h)(7)(B), § 3161(h)(7)(B)(i) and § 3161(h)(7)(B)(iv).

16                                               ORDER

17           IT IS HEREBY ORDERED that each party shall have 90 days from the date of this Order

18   to file all pretrial motions. Responses to any motions shall be filed within 14 days from the date

19   of service of the motions; and any replies may be filed within 7 days of service of the responses.

20           IT IS FURTHER ORDERED that the trial briefs, proposed voir dire questions, proposed

21                                                                                No_ v_ e_mber
     jury instructions, and a list of exhibits must be submitted to the Court by ___             20,
                                                                                                 26
                                                                                           ____ __,

22   2020.

23   ///
24   ///

                                                     4
     Case 2:18-cr-00390-RFB-BNW Document 144 Filed 10/20/20 Page 5 of 5



 1         IT IS FURTHER ORDERED that the calendar call currently scheduled for

 2                                                November
     August 4, 2020, be vacated and continued to ____________24 _________, 2020, at ______
                                                                                     1:30 PM
                                                                                           ___

 3   and the trial currently scheduled   for August 10, 2020, be vacated and continued

 4   to November
      _ ______   30
              ___________________,           9:00 AM
                                   2020, at _____ ___.

 5                  October 20
           Dated: _______________, 2020.

 6

 7                                          __________________________________
                                            HON. RICHARD F. BOULWARE, II
 8                                          UNITED STATES DISTRICT JUDGE

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24


                                                5
